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                  Transcription of Notes of FBI OGC Attorney
                                      Dated 1/25/2017
                                    Document ECF 264-1

1/25/17 RAZOR-DOJ- NSD & ODAG
    √ DR travel      McCord, Toscas, Stu                    Baker, Bill/[redacted]
                      Tash & Matt A.
    tolls- did he talk to admin first
    Logan Act- “no reasonable prosecutor”
       ‐ uphill battle
       ‐ other transition teams
       ‐ first time to use it
    Baker- How do you assess §1001 when you
       wouldn’t prosecute underlying crime?
    we know truth of something being falsely stated
       to public
       ‐ Russians know this                     -use this against us
       ‐ also- Toscas                             willingly to lie about facts
           we left Razor in position to not correct record
           b/c we didn’t confront him
    disclose [redacted]
       Stu/Tash- [redacted]
       [redacted]
    assessment of whether Razor is a covert relationship
       w/ Russia→ No, probably not based on facts to date
       and interview
